
THOMAS, Judge,
concurring specially.
I concur in the main opinion. I write specially to again urge the legislature to consider repealing the legislation creating the State Health Planning and Development Agency (“the SHPDA”) and requiring health-care institutions to seek certificates of need (“CONs”). As I stated in my opinion concurring specially in Health South of Alabama, LLC v. Shelby Ridge Acquisition Corp., [Ms. 2120872, June 12, 2015] — So.3d -, - (Ala.Civ.App. 2015) (Thomas, J., concurring specially), in my opinion, the SHPDA and the CON system fail to ensure that the State Health Plan meets its goal of assuring that the residents of this state receive quality health care at a reasonable cost, see Ala. Code 1975, § 22-21-260(13) (defining “State Health Plan”), and “competing applicants for CONs spéñd years battling in the court system, which prevents the provision of needed services, and, most assuredly, increases the overall cost of health services Jo fund the protracted legal battles.”
